Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 1 of 19




 EXHIBIT P
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 2 of 19




IN THE COURT OF COMMON PLEAS OF LYCOMING COUNTY, PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA                                       :
                                                                   :        CP-41-CR-1357-2020
           v.                                                      :
                                                                   :
ANTHONY BARASKY,                                                   :        OMNIBUS MOTION
         Defendant                                                 :

                                       OPINION AND ORDER

           Anthony Barasky (Defendant) was charged on October 2, 2020 with one (1) count of

Criminal Use of a Communication Facility1. The charge arises from police conducting a traffic

stop of Defendant’s car after the setup of a controlled purchase of suspected narcotics between

a confidential informant and Defendant. Defendant filed this Omnibus Pretrial Motion on

November 30, 2020. This Court held a hearing on the motion on February 9, 2021. In his

Omnibus motion, Defendant first argues that the Commonwealth has not provided sufficient

evidence to satisfy the prima facie burden at the preliminary hearing and the charge should be

dismissed. Secondly, Defendant argues that the search police conducted of a phone was illegal

and any identification of the phone or information obtained as a result of the illegal search

should be suppressed. Thirdly, Defendant argues the stop of Defendant’s vehicle was illegal

and any evidence found because of the stop should also be suppressed. Fourth, Defendant

argues that no probable cause existed to support his arrest and thus, all evidence obtained as a

result of the arrest should be suppressed. Fifth, Defendant argues to suppress all records of

Defendant’s prison phone calls and messages as fruit of the poisonous tree. Lastly, Defendant

submits a motion in limine requesting the Court to prohibit the Commonwealth from using any

of Defendant’s prior convictions at trial2.



1
    18 Pa.C.S. § 7512(a).
2
    The parties have agreed to address the motions in limine closer to trial.
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 3 of 19




Background and Testimony

       At the preliminary hearing, Detective Kevin Dent (Dent) of the Lycoming County

Narcotics Enforcement Unit (NEU) testified on behalf of the Commonwealth. Dent testified

that he had arrested an individual and that they had indicated an interest in wanting to work

with law enforcement as a confidential informant (CI) following that arrest. N.T. 10/14/2020, at

9. Police agreed to work with them in this role as a CI. Id. The CI indicated that they had

previously purchased drugs from Defendant “approximately 100 times in the past.” Id. The CI

was supposed to contact Defendant to set up a controlled purchase of fentanyl to assist law

enforcement in Defendant’s arrest. Id. at 9, 11. On October 2, 2020, the CI contacted Defendant

through their cell phone by calling and texting the number they claimed they had for

Defendant. Id. at 10. Dent testified that he was present during all calls and text messages sent to

Defendant by the CI. Id. During the two (2) phone calls that occurred, the CI kept Defendant on

speakerphone so Dent could hear the entirety of their conversation. Id. at 16. However, Dent

admitted that he was not familiar with the sound of Defendant’s voice at that time. Id. at 11.

The CI requested to buy three (3) grams of fentanyl from Defendant. Id. Dent testified that the

amount of fentanyl would go for approximately seventy (70) dollars per gram but did not

confirm whether the CI and Defendant actually agreed on a price. Id. at 10. Defendant agreed to

the transaction. Id. Defendant and the CI had a “known point” where they would meet up to

conduct their drug transactions. Id. at 11. The two agreed to meet at that same location. Id. Dent

stated that the operation was to stop Defendant “en route to the deal and arrest him.” Id. at 12.

Dent testified that, instead of moving to the agreed upon location to apprehend Defendant, he

remained with the CI. Id. Defendant called the CI to notify them that he was almost there. Id. at

16. Other officers from the NEU and the Old Lycoming Township Police stopped Defendant at



                                                2
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 4 of 19




a location consistent with traveling in the direction of the meet up location. Id. at 12. Dent was

not aware if there was a traffic violation that enabled the officers on scene to pull Defendant’s

vehicle over. Id. at 17. While Dent stayed with the CI, he remained in contact with officers on

the scene during Defendant’s apprehension. Id. at 13. Police conducted a search of Defendant

and no fentanyl was discovered on his person or in his vehicle. Id. However, officers recovered

a cellular phone, though Dent was not sure where the phone was recovered. Id. Following the

discovery of the phone, Dent made a call from his work phone number to the cell phone

recovered from Defendant. Id. at 13, 17. Detective Havens was in the presence of the phone

when it rang and saw that it displayed Dent’s work phone number. Id. at 13. Detective Havens

took a picture of Defendant’s illuminated phone receiving a call from Dent. Id.

       Matthew Sumpter (Sumpter), the CI in this case, Detective Tyson Havens (Havens) of

the Pennsylvania State Police Department, and Dent testified at the hearing on this motion on

February 9, 2021. Sumpter testified that he had been charged in 2020 with delivery of drugs.

He approached Dent with the suggestion that he set up Defendant with a controlled purchase.

Sumpter testified that police did not make any promises to him regarding the 2020 charges.

Sumpter’s testimony affirmed Dent’s preliminary hearing testimony. The Commonwealth

submitted a photograph of a portion of Sumpter and Defendant’s text exchanges as displayed

on Sumpter’s phone. Sumpter stated that the meet up location for the controlled buy was

supposed to be in front of his house as they had done in the past. Sumpter testified that he was

hoping for favorable treatment after cooperating with police. He also indicated that he had

gotten high earlier that day before working with the police. Dent testified that Defendant had

fled from police before so the plan was to not permit him to make contact with Sumpter. Dent

also testified that Defendant was pulled over in front of Sumpter’s housing development. This



                                                 3
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 5 of 19




development only had one (1) entrance and one (1) exit. Havens testified that his role was to set

up surveillance and assist taking Defendant into custody. Havens noted that he was the

individual who obtained Defendant’s cell phone off his person. Havens told Dent to call the

phone, watched it ring, and took a photo of the Defendant’s phone during Dent’s call.

Discussion

       Suppression Motions

       The Court first addresses Defendant’s suppression motions. Defendant argues that the

phone search, the traffic stop, and the arrest were a violation of his rights and therefore,

evidence seized by police from all three incidents must be suppressed. The Fourth Amendment

to the United States Constitution and Article 1 Section 8 of the Pennsylvania Constitution

protect citizens against unreasonable searches and seizures. U.S. Const. amend. IV; PA Const.

art. 1, § 8. Warrantless searches are unreasonable per se, “subject only to a few specifically

established and well-delineated exceptions.” Katz v. United States, 389 U.S. 347, 357 (1967).

The most applicable exception to the warrant requirement in this case is when a warrantless

search is conducted incident to a lawful arrest. Therefore, our initial inquiry in the case sub

judice is to determine whether the warrantless arrest of Defendant was lawful. To be

constitutionally valid, “a warrantless arrest must be supported by probable cause.” In Interest of

O.A., 717 A.2d 490, 495 (Pa. 1998); See Commonwealth v. Barnett, 398 A.2d 1019 (Pa. 1979).

“Where probable cause to arrest does not exist in the first instance, any evidence seized in a

search incident to arrest must be suppressed. It is well settled that in determining whether

probable cause exists to justify a warrantless arrest, the totality of the circumstances must be

considered.” Id.; See Illinois v. Gates, 462 U.S. 213 (1983); Commonwealth v. Gray, 503 A.2d

921 (Pa. 1985). Under this test, “[p]robable cause exists where the facts and circumstances



                                                 4
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 6 of 19




within the officers’ knowledge are sufficient to warrant a person of reasonable caution in the

belief that an offense has been or is being committed.” Commonwealth v. Gibson, 638 A.2d

203, 206 (Pa. 1994). “Suspicion is not a substitute for probable cause to conduct a valid search

and seizure.” Id. All relevant facts are considered in deciding whether the warrantless arrest

was justified by probable cause. In Interest of O.A., 717 A.2d at 495. “Where, as here, the

officers’ actions resulted from information gleaned from an informant, in determining whether

there was probable cause, the informant’s veracity, reliability and basis of knowledge must be

assessed.” Id.

       Defendant challenges his arrest by law enforcement arguing that the police did not have

any probable cause to justify the arrest. He argues that the police did not find any narcotics in

the vehicle or on his person. Defendant also asserts that law enforcement used an unreliable CI

and did not establish that Defendant was on the other end of the phone conversations with said

CI. In the case In Interest of O.A., the Pennsylvania Supreme Court was presented with a

situation in which the police used a CI in an attempt to arrest individuals selling drugs. In

Interest of O.A., 717 A.2d 490, 493 (Pa. 1998). This particular CI had “previously provided

information leading to approximately fifty arrests.” Id. The police made a warrantless arrest

based on the information from the CI and the Court held that the “blanket assertion by the

police officer as to the informant’s reliability with no objective facts lending credibility to the

assertion” was not enough to establish probable cause justifying a warrantless arrest. Id. at 496.

Furthermore, the Court held that “the tip in this case does not disclose a sufficient basis of

knowledge to support the police officers’ belief that a crime had been or was being committed

at the time…The only assertion that the informant made relevant to his basis of knowledge was

that he observed drugs for sale in Appellant’s possession in an abandoned garage.” Id.



                                                  5
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 7 of 19




However, “[c]orroboration of the details of an informant’s tip with independent police work

can provide sufficient indicia of reliability to an otherwise unreliable tip.” Id. at 497; See

Illinois v. Gates, 462 U.S. 213, 241 (1983).

       For the following reasons, this Court agrees with Defendant on this issue. The CI in this

case had never been used in that capacity before by law enforcement. The only “tip” he stated

to police was that he had apparently purchased drugs from Defendant in the past and then

assisted the police in setting up the drug transaction for the police with an individual that Dent

could not identify based on that phone conversation. No other facts or corroboration was

presented to the Court in order to substantiate the CI’s information other than Dent’s blanket

testimony that he was “aware of” Defendant prior to his arrest in this case and that members of

the NEU had dealt with Defendant before. N.T. 10/14/2020, at 6. This statement provides no

specific connections between Defendant and the CI indicating that Defendant would be willing

to sell narcotics to the CI or that Defendant had drugs to sell. Therefore, all evidence, including

the phone, that was seized as a result of Defendant’s arrest shall be suppressed.

       Secondly, Defendant argues that the traffic stop of Defendant had no identifiable traffic

violation or sufficient probable cause to support law enforcement effectuating the stop of

Defendant. The Fourth Amendment guarantees “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const.

amend IV. “Temporary detention of individuals during the stop of an automobile by the police,

even if only for a brief period and for a limited purpose, constitutes a seizure…within the

meaning of this provision.” Whren v. U.S., 517 U.S. 806, 809 (1996) (internal quotations

omitted). The stop of an automobile “is thus subject to the constitutional imperative that it not

be ‘unreasonable’ under the circumstances.” Id. at 810. “As a general matter, the decision to



                                                  6
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 8 of 19




stop an automobile is reasonable where the police have probable cause to believe that a traffic

violation has occurred.” Id.; See Pennsylvania v. Mimms, 434 U.S. 106, 109 (1977). “For a

stop based on the observed violation of the Vehicle Code or otherwise non-investigable

offense, an officer must have probable cause to make a constitutional vehicle stop.”

Commonwealth v. Harris, 176 A.3d 1009, 1019 (Pa. Super. 2017). “Pennsylvania law makes

clear that a police officer has probable cause to stop a motor vehicle if the officer observes a

traffic code violation, even if it is a minor offense.” Id. Defendant states that he was not

charged with any traffic violation nor was any violation included in the information. Neither

Dent nor Havens testified to any identifiable traffic violation that would give rise to sufficient

probable cause for law enforcement to pull Defendant over on the day in question. Since there

was no traffic violation, Defendant asserts that police needed to have probable cause before

conducting the stop.

       Defendant argues that the only support for pulling him over came from Sumpter, the CI

in this case. Defendant believes that the CI was unreliable because the police had never worked

with this CI before in their undercover investigations and the CI had motive to lie in order to

better his chances of law enforcement offering him a deal after his arrest. Since the Court has

already found that the CI’s tip was not sufficient to establish probable cause and that is the only

evidence leading to the stop of Defendant’s car, the traffic stop was also unconstitutional and

the evidence seized shall be suppressed.




       Furthermore, Defendant challenges the search of the phone by police. “The police

generally may not, without a warrant, search digital information on a cell phone seized from an



                                                 7
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 9 of 19




individual who has been arrested.” Riley v. California and United States v. Wurie, 573 U.S.

373 (2014) (hereinafter “Riley/Wurie”.) Chimel v. California established what police can

reasonably search incident to arrest and held that officers may search the arrested individual to

remove any weapons to protect officer safety, to search and seize evidence on their person to

prevent concealment or destruction, and to search the area within the arrestee’s immediate

control to further those objectives of a warrantless search. Chimel v. California, 395 U.S. 752,

762-63 (1969); See also United States v. Robinson, 414 U.S. 218 (1973) (lawful to search the

person of an individual incident to their arrest); Arizona v. Gant, 556 U.S. 332 (2009)

(exception for warrantless search of a vehicle’s passenger compartment when reasonable to

believe evidence relevant to the crime may be found in the vehicle). In Riley/Wurie, two (2)

cases were consolidated in order to answer the shared question of whether police can search the

digital information on a cell phone without a warrant from an individual who has been arrested.

Id. at 378. In the first case, police arrested Riley and seized his smartphone incident to his

arrest. Id. “The officer accessed information on the phone and noticed that some words

(presumably in text messages or a contacts list) were preceded by…a slang term for members

of the Bloods gang.” Id. at 379. Later at the police station, another detective specializing in

gangs also examined the contents of the phone looking for evidence and found Riley in front of

a vehicle that was suspected to be involved in a shooting several weeks prior. Id. The

information found on the phone was used against Riley at trial and admitted into evidence. Id.

In the second case, an officer watched Wurie make what appeared to be a drug sale while doing

routine surveillance. Id. Wurie was arrested and taken to the police station where a flip phone

was seized from his person. Id. at 380. “[T]he officers noticed that the phone was repeatedly

receiving calls from a source identified as ‘my house’ on the phone’s external screen.” Id. They



                                                 8
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 10 of 19




pressed buttons to gain access to the phone’s call log and to determine the number associated

with the contact name. Id. The police used the information gathered from the phone to further

develop their investigation into Wurie. Id. The Supreme Court noted that the dangers and

concerns articulated in Chimel are not present in the search of digital content on cell phones,

noting that “[c]ell phones…place vast quantities of personal information literally in the hands

of individuals. A search of the information on a cell phone bears little resemblance to the type

of brief physical search considered in Robinson.” Id. 386. In Commonwealth v. Fulton, the

police arrested the defendant and seized his cell phone. Commonwealth v. Fulton, 179 A.3d

475, 479 (Pa. 2018). After seizing the phones, police opened them, turned them on, and

searched the menu to figure out the number assigned to the phone. Id. at 480. Additionally, an

officer left one of the phones on and monitored its incoming calls and texts, even going so far

as to answer a call. Id. The Pennsylvania Supreme Court found that law enforcement’s conduct

of the phones was contrary to Riley/Wurie’s holding that “any search” of a phone required a

warrant and was therefore a violation of defendant’s rights. Id. at 487.

       Defendant argues that the police powered on the phone recovered from Defendant when

Dent placed a call to the number from his work phone. Defendant further avers that police

manually turned the phone on by pressing a button. It is Defendant’s belief that any

interference or manipulation of the phone by the police is a search and requires a warrant. Since

law enforcement did not have a search warrant for the phone, the evidence obtained as a result

of the illegal search must be suppressed. The Commonwealth responds that the case law on this

issue did not overrule or otherwise change the plain view exception to the warrant requirement.

Additionally, the Commonwealth believes that Fulton addresses the issue of police turning a

phone on that was off as prohibited manipulation by police of a civilian’s cellular phone. In this



                                                9
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 11 of 19




case, the Commonwealth argues that there is a significant difference between lighting up a

phone screen and powering on a phone. Since the former is what police did in this case, it does

not qualify as a search because police only observed the outside of the phone and took a picture

of the screen while the phone was receiving a call from another officer.

       The Court disagrees with the Commonwealth on this issue. The Supreme Court has held

that, to qualify as a search, the police’s conduct does not need to uncover something of “great

personal value.” Arizona v. Hicks, 480 U.S. 321, 325 (1987). “[E]ven a small, seemingly

insignificant act of information gathering by police in a constitutionally protected area is a

search.” Commonwealth v. Fulton, 179 A.3d 475, 488 (Pa. 2018). In this case, Dent and

Havens’ clear objective was to gather more evidence for their investigation against Defendant.

The Commonwealth’s argument that their conduct of merely calling the phone did not amount

to a search because they did not turn the phone on is without merit following a review of the

law on this subject. Through their actions, police were able to obtain more information about

the phone and Defendant than they would have without a warrant. Even though the phone was

in plain view of police after it was seized, Dent manipulated the phone by calling it. In fact, the

Court in Fulton held that police conducted three (3) separate searches of the phone, one of

which was when the officer “monitored incoming calls and text messages.” Fulton, 179 A.3d at

489. Therefore, we find that Defendant’s argument on this issue is valid and the evidence

seized must be suppressed.

       Lastly, Defendant wishes to suppress all prison phone calls and messages obtained by

the Commonwealth in this case as fruit of the poisonous tree. The United States Supreme Court

held that “evidence constitutes poisonous fruit, and, thus, must be suppressed, if, ‘granting

establishment of the primary illegality, the evidence to which instant objection is made has



                                                10
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 12 of 19




been come at by exploitation of that illegality or instead by means sufficiently distinguishable

to be purged of the primary taint.” Commonwealth v. Shabezz, 166 A.3d 278, 289 (Pa. 2017)

(quoting Wong Sun v. United States, 371 U.S. 471, 488 (1963). “The fruit of the poisonous tree

doctrine excludes evidence obtained from, or acquired as a consequence of, lawless official

acts; it does not exclude evidence obtained from an independent source.” Commonwealth v.

Brown, 700 A.2d 1310, 1318 (Pa. Super. 1997) (internal quotations omitted); See

Commonwealth v. Ariondo, 580 A.2d 341, 347 (Pa. Super. 1990). “The burden rests on the

Commonwealth to demonstrate that the secondary evidence was gathered by means sufficiently

distinguishable from any illegality so as to be ‘purged of its primary taint’ rather than deriving

from exploitation of the illegality.” Id. at 1319; See Wong Sun, 371 U.S. at 488.

       Defendant argues that the only reason the Commonwealth obtained recordings of

Defendant’s prison phone calls and messages is because of the illegal traffic stop, illegal arrest,

and illegal searches of the phone as performed by police. Defendant believes that the prison

calls and messages could not have been discovered by means free of the primary taint of the

illegal conduct of law enforcement in this case. As previously discussed, the Court agrees with

Defendant’s arguments as to the illegality of the traffic stop, the arrest, and the phone search.

Additionally, the Commonwealth has not presented additional evidence to show that the phone

records from prison were independently discovered without the evidence obtained from

Defendant’s arrest. Therefore, the phone calls and messages from Defendant attributable to

Defendant must also be suppressed as fruit of the poisonous tree. However, even in the

alternative if it is found that the Commonwealth presented enough to establish probable cause

in the instances discussed above, this Court finds, as discussed below, that the Commonwealth

failed to establish their prima facie burden and dismisses the charge against Defendant.



                                                11
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 13 of 19




         Habeas Corpus Motion

         At the preliminary hearing stage of a criminal prosecution, the Commonwealth need not

prove a defendant's guilt beyond a reasonable doubt, but rather, must merely put forth sufficient

evidence to establish a prima facie case of guilt. Commonwealth v. McBride, 595 A.2d 589,

591 (Pa. 1991). A prima facie case exists when the Commonwealth produces evidence of each

of the material elements of the crime charged and establishes probable cause to warrant the

belief that the accused likely committed the offense. Id. Furthermore, the evidence need only be

such that, if presented at trial and accepted as true, the judge would be warranted in permitting

the case to be decided by the jury. Commonwealth v. Marti, 779 A.2d 1177, 1180 (Pa. Super.

2001). To meet its burden, the Commonwealth may utilize the evidence presented at the

preliminary hearing and may also submit additional proof. Commonwealth v. Dantzler, 135

A.3d 1109, 1112 (Pa. Super. 2016). “The Commonwealth may sustain its burden of proving

every element of the crime…by means of wholly circumstantial evidence.” Commonwealth v.

DiStefano, 782 A.2d 574, 582 (Pa. Super. 2001); see also Commonwealth v. Jones, 874 A.2d

108, 120 (Pa. Super. 2016). The weight and credibility of the evidence may not be determined

and are not at issue in a pretrial habeas proceeding. Commonwealth v. Wojdak, 466 A.2d 991,

997 (Pa. 1983); see also Commonwealth v. Kohlie, 811 A.2d 1010, 1014 (Pa. Super. 2002).

Moreover, “inferences reasonably drawn from the evidence of record which would support a

verdict of guilty are to be given effect, and the evidence must be read in the light most

favorable to the Commonwealth's case.” Commonwealth v. Huggins, 836 A.2d 862, 866 (Pa.

2003).

         Defendant challenges the sufficiency of the Commonwealth’s evidence on the charge

brought against him. Defendant asserts that the Commonwealth failed to establish their prima



                                                12
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 14 of 19




facie burden on Count 1: Criminal Use of a Communication Facility. This crime occurs when a

“person uses a communication facility to commit, cause or facilitate the commission or the

attempt thereof of any crime which constitutes a felony under this title….” 18 Pa.C.S. §

7512(a). Defendant’s position on this issue is that the Commonwealth failed to establish a

prima facie burden on the charge against Defendant. Since no drug transaction occurred,

Defendant asserts that the Commonwealth can only satisfy the attempt prong of Section 7512.

An individual commits an attempt when, “with intent to commit a specific crime, he does any

act which constitutes a substantial step toward the commission of that crime. 18 Pa.C.S. §

901(a). “The substantial step test broadens the scope of attempt liability by concentrating on the

acts the defendant has done and does not any longer focus on the acts remaining to be done

before actual commission of the crime.” Commonwealth v. Gilliam, 417 A.2d 1203, 1205 (Pa.

Super. 1980). “Facilitation has been defined as ‘any use of a communication facility that makes

easier the commission of the underlying felony.’” Commonwealth v. Moss, 852 A.2d 374, 382

(Pa. Super. 2004) (quoting United States v. Davis, 929 F.2d 554, 559 (10th Cir. 1991)). “If the

underlying felony never occurs, then Appellants have facilitated nothing and cannot be

convicted under § 7512.” Id. 35 P.S. § 780-113 prohibits the delivery of a controlled

substance. Defendant believes the Commonwealth failed to establish that Defendant took a

requisite substantial step. Defendant relies on a few cases to support his position. See

Commonwealth v. Moss, 852 A.2d 374, 382 (Pa. Super. 2004); Commonwealth v. Zingarelli,

839 A.2d 1064 (Pa. Super. 2003) (evidence sufficient to uphold conviction for attempted

statutory sexual assault where defendant rented motel room, bought wine and condoms, had an

overnight bag, and drove to meet undercover officer posing as child); Commonwealth v. Mills,

478 A.2d 30 (Pa. Super. 1984). In Commonwealth v. Moss, three defendants challenged the



                                                13
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 15 of 19




trial court’s convictions under § 7512. Moss, 852 A.2d at 381. The Superior Court affirmed the

convictions against the first appellant3 because the record showed appellant made a phone call

to another individual to inquire about purchasing drugs, the man he called agreed to sell drugs

to appellant, the seller showed up to appellant’s house, went inside for a few minutes, and then

left, which is consistent with the behavior associated with selling drugs. Id. at 383. The

Superior Court reversed the convictions against the second appellant4 because “the evidence

establishes merely that [Appellant] engaged in drug-related telephone conversations with a

known drug trafficker. Absent proof beyond a reasonable doubt that [Appellant’s]

conversations facilitated a specific underlying felony that was in fact carried out, the conviction

cannot stand.” Id. at 384. The Court also reversed two (2) of the convictions against the third

appellant5 for the same reasons previously stated. The Court stated that “[t]he Commonwealth

must prove beyond a reasonable doubt that the telephone conversations facilitated the

commission of a specific underlying felony.” Id. In the Commonwealth v. Mills case, the

Superior Court held that the defendant had not taken a substantial step towards delivering drugs

where he had ridden in a car with an undercover officer and an informant to a

methamphetamine dealer’s house to help the undercover officer get methamphetamine but the

dealer was not home so the defendant offered to get in contact with another dealer who could

get the officer the narcotics later that evening but the officer declined the offer. Commonwealth

v. Mills, 478 A.2d 30, 32, 34 (Pa. Super. 1984).

         Defendant asserts that the Commonwealth did not produce any evidence to tie

Defendant to the phone that the CI contacted to set up the drug purchase. Dent admitted that he

did not know what Defendant’s voice sounded like so he could not make an identification of

3
  Sullivan
4
  Austin
5
  Moss

                                                14
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 16 of 19




Defendant during the CI’s phone calls. At the time of the preliminary hearing, law enforcement

had not confirmed the ownership of the phone seized from Defendant. This CI had never been

used before and therefore his testimony at the hearing on this motion was questionable.

However, Defendant argues that, even if the Commonwealth could prove that Defendant was

on the other end of the cellular interactions with the CI, the Commonwealth would not be able

to prove that Defendant took a substantial step. Defendant contends that he was not at the site

where the transaction was supposed to occur. Defense counsel articulates that the

Commonwealth’s reasons for not permitting Defendant to reach the meeting point are not

credible. Defendant also argues that no fentanyl or drug paraphernalia were found on

Defendant’s person or in his vehicle. Defendant was neither seen conducting a hand-to-hand

transaction nor was an unusual amount of U.S. currency found in his car or on his person.

Furthermore, no price was discussed or agreed upon for the fentanyl. For these reasons,

Defendant believes that the facts of this case do not even amount to those found in Mills where

defendant was still not found to have sustained a conviction of the same offense. Defendant

believes that the Commonwealth does not have sufficient evidence to satisfy their prima facie

burden on the charge against Defendant.

       Alternatively, the Commonwealth argues that Mills is distinguishable from this case

because Defendant here took two (2) distinctive substantial steps. Such steps were

communicating with the CI that he was almost at the location as well as Defendant getting in

the car and travelling to the meeting place. As to the credibility of the reasons why Defendant

was not permitted to arrive at the exact meeting location, the Commonwealth argues that it is

preferred to surprise a flight risk with an arrest outside the CI’s housing development rather

than give him the opportunity to run. The Commonwealth also argues that the preliminary



                                               15
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 17 of 19




hearing transcript indicated a price for the fentanyl based on the CI’s history with Defendant.

Lastly, the Commonwealth believes that they are entitled to inferences and do not have to prove

any number of explanations as to why Defendant was found to have no drugs on his person or

in his vehicle.

        This Court agrees with Defendant on this issue. The evidence of the case sub judice

fails to reach the prima facie burden. The record reflects only that the CI and another individual

had text and phone call conversations about buying fentanyl. In Moss, the Superior Court held

that the Commonwealth “may not obtain a conviction under § 7512 based solely on evidence

that [Defendant] engaged in drug-related telephone conversations with a known drug

trafficker.” Commonwealth v. Moss, 852 A.2d 374, 384 (Pa. Super. 2004). The conviction the

Court upheld in Moss involved significantly more evidence to show that appellant was

facilitating the commission of a felony by contacting a drug dealer and allowing the dealer into

his home. In this case, Defendant was not given the chance to follow through on law

enforcement’s suspicions. Even when Defendant was stopped for no articulable traffic

violation, no drugs or drug paraphernalia were on Defendant or in his car. If the conviction of

the same offense under Mills cannot stand after the defendant sat outside the drug dealer’s

house in an effort to get the undercover officer methamphetamine, then it is counterintuitive for

this Court to hold Defendant on the same charge for less conduct.

        Moreover, the Commonwealth’s argument that the price Dent testified to at the

preliminary hearing was from the CI’s past experience with Defendant is not supported by the

transcript from that hearing. Dent was asked if a price was discussed while the CI and the

person on the other line were in contact. N.T. 10/14/2020, at 10. Dent’s response was “They

typically would spend $70 per gram, so about $210.” The Commonwealth followed up with



                                               16
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 18 of 19




clarifying whether that was the price discussed during the CI’s communications or if that

number is what was expected. Id. Dent answered, “That’s what it was expected to be.” Id. at

11. It is not clear from his testimony whether this amount is what Dent expected based on his

knowledge and past experience in law enforcement or whether this was the CI’s arrangement in

the past with Defendant. Even if Defendant was the individual on the other line, he was not

given the opportunity to take a substantial step before being apprehended. Therefore, the

Defendant’s argument prevails on this issue and the charge against Defendant must be

dismissed.

Conclusion

       The Court finds that the requisite probable cause to justify Defendant’s arrest did not

exist. Therefore, the evidence obtained shall be suppressed. The Court also finds that the

requisite probable cause to substantiate a traffic stop of Defendant was not present in this case.

Therefore, the evidence obtained as a result shall be suppressed. The Court finds that probable

cause to support the warrantless search of the phone found on Defendant did not exist here and

the evidence obtained because of the search of the phone shall be suppressed. Lastly, the Court

finds that the Commonwealth did not present enough evidence at the preliminary hearing to

establish a prima facie case for the count against Defendant. Therefore, Defendant’s Petition

for Writ of Habeas Corpus is granted.




                                                ORDER

       AND NOW, this 25th day of June, 2021, based upon the foregoing Opinion, it is

ORDERED AND DIRECTED that Defendant’s Petition for Writ of Habeas Corpus in his



                                                17
Case 4:21-cv-02041-KM Document 92-16 Filed 07/09/24 Page 19 of 19




Omnibus Pretrial Motion is hereby GRANTED and Count 1: Criminal Use of a

Communication Facility is hereby DISMISSED. The Defendant’s Motions to Suppress

Evidence are GRANTED. It is ORDERED and DIRECTED that the phone seized from the

Defendant’s person and any evidence discovered therefrom shall be SUPPRESSED.



                                        By the Court,


                                        Nancy L. Butts, President Judge


cc:   DA
      Leonard Gryskewicz, Jr., Esq.
      Law Clerk (JMH)




                                          18
